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                                In the United States District Court
                                    for the District of Columbia

 United States of America,                            Case No. 1:23-cr-00184-RDM

                                      Plaintiff,      Notice of Mr. Wise’s Objection to Remote
                                                      Court Proceedings
         v.

 Jared Lane Wise,

                                   Defendant.

       Mr. Wise hereby gives notice that he objects on both Sixth and First Amendment grounds

to remote proceedings. The hearing on January 6, 2025, was scheduled to be open to the public.

Because of the snowstorm, the Court is apparently closed and the parties have been provided a

Zoom link.

       “In all criminal prosecutions,” the Sixth Amendment guarantees that “the accused shall

enjoy the right to a … public trial.” U.S. CONST. AMEND. VI. The requirement that criminal trials

be open to the public is enshrined in the Sixth Amendment “for the benefit of the accused; that the

public may see he is fairly dealt with and not unjustly condemned, and that the presence of inter-

ested spectators may keep his triers keenly alive to a sense of their responsibility and to the im-

portance of their functions....” Waller v. Georgia, 467 U.S. 39, 46 (1984) (internal quotation marks

and citations omitted). “In addition to ensuring that judge and prosecutor carry out their duties

responsibly, a public trial encourages witnesses to come forward and discourages perjury.” Id.;

see also Kleinbart v. United States, 388 A.2d 878, 881-82 (D.C. 1978). Of course, openness serves

not merely the interest of the accused in a fair trial but also the interests of the public at large in

being informed about the administration of justice. This latter interest too is accorded constitu-

tional standing: “the press and public have a qualified First Amendment right to attend a criminal

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trial.” Waller, 467 U.S. at 44; See Press–Enterprise Co. v. Superior Court of Cal., 478 U.S. 1

(1986); Press–Enterprise Co. v. Superior Court of Cal., 464 U.S. 501 (1984); Globe Newspaper

Co. v. Superior Court, 457 U.S. 596 (1982); Richmond Newspapers, Inc. v. Va., 448 U.S. 555

(1980).

          Like most rights, of course, the right to a public trial is not absolute. “ ‘[C]onsiderations of

preserving order, protecting the parties or witnesses, and maintaining confidentiality’ ” may war-

rant closing a criminal proceeding in some manner.’ ” Tinsley v. United States, 868 A.2d 867, 874

(D.C. 2005) (quoting Kleinbart, 388 A.2d at 882). However, “ ‘[i]t is only under the most excep-

tional circumstances that limited portions of a criminal trial may be closed even partially to the

public.’ ” Tinsley, 868 A.2d at 874 (quoting Kleinbart, 388 A.2d at 883); see also Waller, 467 U.S.

at 45 (holding that “[s]uch circumstances [under which ‘the right to an open trial may give way’]

will be rare, and the balance of interests must be struck with special care”). Before a trial court

may exclude members of the public from portions of a criminal proceeding, four criteria must be

met: “[1] the party seeking to close the hearing must advance an overriding interest that is likely

to be prejudiced, [2] the closure must be no broader than necessary to protect that interest, [3] the

trial court must consider reasonable alternatives to closing the proceeding, and [4] it must make

findings adequate to support the closure.” Waller, 467 U.S. at 48. Littlejohn v. United States, 73

A.3d 1034, 1040 (D.C. 2013), abrogated by Weaver v. Massachusetts, 582 U.S. 286 (2017).

          Mr. Wise objects on both Sixth and First Amendment grounds to remote proceedings. On

January 3, 2025, Mr. Wise indicated that he wants open, public court proceedings. Today, the me-

dia is flooded with discussions of the anniversary of January 6, 2021, including a pointed editorial

opinion by President Biden focused on the events of January 6, 2021. The First Amendment


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concerns are at their zenith today. One day of snow does not constitute “the most exceptional

circumstances” that are required for closing the hearing to the public.

       Respectfully submitted on January 6, 2025.

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